Case 3:18-cv-00296-MMD-CLB Document 222-17 Filed 10/08/20 Page 1 of 5




             Exhibit 18
Litigation Funding Agreement First
            Amendment




                                                                  105
    Case 3:18-cv-00296-MMD-CLB Document 222-17 Filed 10/08/20 Page 2 of 5



                                LITIGATION FUNDING AGREEMENT
                                       FIRST AMENDMENT
The Litigation Funding Agreement ( he Agreement ), effective November 16, 2018, by and between
Martin Tripp ( Claimant ) and The Funicular Fund, LP ( Funder ), a Delaware limited partnership,
continues in full force and effect. The parties restate and reiterate, as if fully set forth herein, their
respective representations and warranties, covenants, and undertakings as originally specified in the
Agreement, except as modified by this First Amendment, effective December 31, 2019 (the
 Amendmen ).
Whereas Claimant wishes to obtain, and Funder desires to provide, additional financial support in the
Action, the parties hereby agree to amend the Agreement as set forth below.
The following defined terms are added or amended:
        Second Closing: The date, not to exceed 10 business days, following the execution of this
        Amendment upon which the Additional Investment Amount is delivered by Funder to the Trust
        Account.
        Additional Investment Amount: $125,000.
        Additional Investment Factor: Upon the Conclusion of the Action occurring within the first year
        following the Second Closing, ten percent (10%). Thereafter, the product of (i) the total number
        of days since closing divided by 365 and (ii) ten percent (10%).
        Unused Investment: The difference between the total amounts deposited into the Trust Account
        prior to any Award, including the Investment Amount, Additional Investment Amount, and
        amounts previously advanced by Claimant, on the one hand, and the Costs invoiced by Litigation
        Counsel or approved third parties, on the other. Upon Conclusion of the Action, and prior to the
        distribution of the Proceeds, if any, Litigation Counsel shall return to Funder the Unused
        Investment, if any, from the Trust Account.
        Waterfall Schedule: The schedule set forth below establishing priority in right of payment with
        respect to the Proceeds. The Proceeds shall be paid into the Trust account and distributed
        promptly among Claimant, Litigation Counsel, and Funder according to the following schedule:
                 First, to Funder, the amount equal to the sum of (i) the product of the Investment Amount
                 and the Investment Factor and (ii) the product of the Additional Investment Amount and
                 the Additional Investment Factor;
                 Second, to Funder, the sum of (i) the Investment Amount and (ii) the Additional
                 Investment Amount less (iii) the Unused Investment;
                 Third, to Litigation Counsel, the amount, if any, of Costs incurred but not yet invoiced;
                 Thereafter, the remaining Proceeds to be distributed twenty-five percent (25%) to
                 Litigation Counsel, fifty percent (50%) to Claimant, and twenty-five percent (25%) to
                 Funder.
The following Additional Covenants are added to memorialize understandings among the parties:
3.1.6 GoFundMe: Claimant shall transfer any additional amounts collected from GoFundMe subsequent
to the initial effectiveness of the Agreement to the Trust Account. Claimant shall be under no obligation
to reimburse GoFundMe donors as a result of the Agreement. However, in the event the Proceeds are
substantial, Claimant agrees in his sole and absolute discretion to consider compensating donors.
                                                                                                             1


                                                                                                      106
    Case 3:18-cv-00296-MMD-CLB Document 222-17 Filed 10/08/20 Page 3 of 5



3.2 Covenants of Funder:
3.2.1 O anding A ne Fee : Concurrent with the effectiveness of this Amendment, Funder shall
approve an invoice by Litigation Counsel in the amount of forty-nine thousand eight hundred twenty
dollars and nineteen cents ($49,820.19) to be applied toward accrued a ne fee .
3.3 Covenants of Litigation Counsel:
3.3.1 Costs Award: To the greatest extent permissible by law, Litigation Counsel undertakes to seek
recovery of Costs in the Action. For the avoidance of doubt, any such recovery shall be considered
Proceeds in the Action.
3.3.2 A ne Fee : Prior to the Conclusion of the Action and unless otherwise agreed by the parties,
except for the amount set forth in section 3.2.1, Litigation Counsel undertakes not to submit invoices to
release funds from the Trust Account on account of its accrued a ne fee , which shall nevertheless
continue to accrue.


{REMAINDER OF PAGE INTENTIONALLY LEFT BLANK; SIGNATURE PAGE FOLLOWS}




                                                                                                            2


                                                                                                   107
    Case 3:18-cv-00296-MMD-CLB Document 222-17 Filed 10/08/20 Page 4 of 5




IN WITNESS WHEREOF, each party hereto has caused this Agreement to be signed and delivered by its
respective duly authorized officer as of the date first above written.


                                             Claimant:


                                                                                 01/08/2020
                                             Martin A. Tripp


                                             Funder:

                                             THE FUNICULAR FUND, LP

                                             By: Cable Car Capital LLC
                                             Its: General Partner


                                             By:
                                             Name: Jacob Ma-Weaver
                                             Title: Managing Member

ACCEPTED AND AGREED:

Litigation Counsel:

TIFFANY & BOSCO P.A.


By:
Name: Robert D. Mitchell
Title: Shareholder




                                                                                                    3


                                                                                              108
    Case 3:18-cv-00296-MMD-CLB Document 222-17 Filed 10/08/20 Page 5 of 5



                                               EXHIBIT A
                         LITIGATION PROCEEDS RIGHT CERTIFICATE
THESE SECURITIES HAVE NOT BEEN REGISTERED UNDER THE SECURITIES ACT OF 1933,
AS AMENDED. THEY MAY NOT BE SOLD, OFFERED FOR SALE, PLEDGED OR
HYPOTHECATED IN THE ABSENCE OF A REGISTRATION STATEMENT IN EFFECT WITH
RESPECT TO THE SECURITIES UNDER SUCH ACT OR AN OPINION OF COUNSEL
SATISFACTORY TO THE COMPANY THAT SUCH REGISTRATION IS NOT REQUIRED.


For value received, The Funicular Fund, LP is the holder of a Litigation Proceeds Right in the original
principal amount of $275,000.
The transfer, sale, assignment, hypothecation, encumbrance, or alienation of the rights represented by this
certificate is restricted by a Litigation Funding Agreement among all the undersigned Claimant and The
Funicular Fund, LP, originally dated as of November 16, 2018, as amended. All the terms and provisions
of the Litigation Funding Agreement are incorporated by this reference and made a part of this certificate.


CLAIMANT:




Martin A. Tripp


Dated: December
        January __,
                8 2019




                                                                                                          4


                                                                                                   109
